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                                                                   FILED: January 18, 2022


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                            No. 20-6075
                                   (5:09-cr-00025-KDB-DCK-1)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        ALEJANDRO SALINAS GARCIA, a/k/a Alex

                     Defendant - Appellant

                                     ___________________

                                        MANDATE
                                     ___________________

              The judgment of this court, entered November 15, 2021, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk




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